                 UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



COREY BETHEL,                         )
                                      )
                           Plaintiff, )
                                             COMPLAINT FOR
                                      )
                                            DECLARATORY AND
        v.                            )
                                           INJUNCTIVE RELIEF
                                      )
                                        PURSUANT TO 42 U.S.C. § 1983
 D.H. ROGERS, Sheriff of Guilford     )
 County, North Carolina, in his       )
 official capacity;                   )
                                      )
                         Defendant. )
________________________________________________________________________

   COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
________________________________________________________________________

                               I. Introduction

      Under North Carolina law, a person can be placed on the North

Carolina sex offender registry, and thereby made subject to substantial

deprivation of liberty, upon a local official’s ad hoc determination that the

individual has been convicted of an offense in a federal jurisdiction

“substantially similar” to a North Carolina crime requiring registration. No

statute or regulation provides guidance on how to make such determination,

or who should make it, and there is no mechanism, ether pre- or post-

deprivation, to contest the decision.

      Mr. Corey Bethel, Plaintiff to this action, has been placed on the North



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Carolina sex offender registry pursuant to determination by a sheriff’s deputy

that his conviction for an offense under the Uniform Code of Military Justice

was “substantially similar” to a North Carolina offense requiring registration.

This determination was made without notice or opportunity to be heard and

without right of appeal.

      Plaintiff brings this action seeking declaratory and injunctive relief

preventing Defendant from requiring him to register as a sex offender unless

and until he is afforded constitutionally sufficient due process in the

determination whether his offense under the Uniform Code of Military

Justice is “substantially similar” to a North Carolina offense requiring

registration.


                           II. Jurisdiction and Venue


1.    This case is brought pursuant to 42 U.S.C. § 1983.

2.    Jurisdiction is proper under 28 U.S.C. §§ 1331 and 1342. Plaintiff seeks

redress for deprivation of rights secured by the United States Constitution.

3.    Venue is proper in the Middle District of North Carolina pursuant to

28 U.S.C. § 1391(b).

4.    By information and belief, Defendant resides in the Middle District of

North Carolina.



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5.    The events and omissions giving rise to this claim occurred in the

Middle District of North Carolina.

6.    The declaratory and injunctive relief sought by Plaintiff is authorized

by 28 U.S.C. §§ 2201 and 2202, Federal Rules of Civil Procedure 57 and 65,

and by the legal and equitable powers of the Court.

7.    Plaintiff Corey Bethel is an individual now residing in Guilford County,

North Carolina.

8.    Defendant D.H. Rogers is the sheriff of Guilford County, North

Carolina. He is sued in his official capacity.


                            III. Statement of Facts


9.    Under North Carolina law, Defendant Rogers is responsible for

registration of persons subject to registration under Article 27A of the North

Carolina General Statutes – Sex Offender and Public Protection Registration

Programs. N.C.G.S. § 14-208.7(a).


10.   In March, 2017, Mr. Bethel pled guilty before a general court-martial

located at Misawa Air Base, Japan of violating Article 120b(c) of the Uniform

Code of Military Justice (sexual abuse of a child).

11.   Article 120b(c) provides that any person who “commits a lewd act upon

a child is guilty of sexual abuse of a child.”

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12.   “Lewd act” is defined expansively by 10 U.S.C. § 920b(h)(5).

13.   The elements of the military offense described in Article 120b(c) are not

equivalent to the elements of any North Carolina offense.

14.   Upon his return to the United States and to Guilford County, North

Carolina, Mr. Bethel reported to the Guilford County Sheriff’s Office.

15.   While there, a Guilford County Sheriff’s Deputy, Deputy P. Murphy,

determined that Mr. Bethel’s offense was “substantially similar” to a North

Carolina offense requiring registration and forced Mr. Bethel, under threat of

felony conviction for failure to do so, to register as a sex offender.

16.   In making this determination, Deputy Murphy was acting within the

scope of his employment.

17.   In making this determination, Deputy Murphy was acting at the

direction and control of, and upon the authority of, Defendant Rogers,

18.   Mr. Bethel had no notice or opportunity to be heard prior to Deputy

Murphy making the determination that his federal conviction was

“substantially similar” to a North Carolina offense requiring registration.

19.   North Carolina state statutes do not provide any guidance for making

the determination that a federal offense is “substantially similar” to a North

Carolina reportable conviction.



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20.   There is currently no other authoritative guidance to State officials

regarding how to determine that an offense committed in a jurisdiction other

than the State of North Carolina is “substantially similar” to North Carolina

reportable conviction.

21.   Mr. Bethel is currently registered with Defendant pursuant to N.C.G.S.

§ 14-208.7(a) and is listed on the state-wide sex offender registry.

22.   By placement on the registry, Mr. Bethel is subject to public

opprobrium and reputational harm.

23.   By placement on the registry, Mr. Bethel is subject to substantial

deprivations of liberty.

24.   These deprivations include, but are not limited to: on-going, in-person

registration requirements and surveillance by law enforcement personnel

(N.C.G.S. §§ 14-208.7, 14-208.8A, and 14-208.9); restriction from parks,

libraries, the state fair, museums, places of worship, colleges, and other

locations (See N.C.G.S. §14-208.18(a)); restrictions on housing (N.C.G.S. §§

14-208.16 and 14-208.18); and occupational restrictions (N.C.G.S. §§ 14-

208.17 and 14-208.19A).

25.   Since being placed on the registry, Mr. Bethel has complied with all

statutes applicable to persons on the North Carolina sex offender registry.

26.   Mr. Bethel is currently subject to prosecution for violation of the

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statutes and regulations pertaining to registered sex offenders and contained

in Article 27A of the North Carolina General Statutes and related provisions

of North Carolina law.

27.   Defendant has not disavowed the intent to enforce against Plaintiff all

statutes applicable to persons required to register under Article 27A of the

North Carolina General Statutes and related provisions.

                            IV. Cause of Action
                          Procedural Due Process

28.   The preceding paragraphs are incorporated by reference.

29.   By state action, Plaintiff has been placed on the North Carolina sex

offender registry based upon a Deputy Sheriff’s determination that his

federal conviction is “substantially similar” to a North Carolina offense

requiring registration.

30.   Plaintiff is currently under threat of arrest and felony prosecution for

violating any statute applicable to registrants.

31.   Placement on the North Carolina sex offender registry causes

reputational harm to Plaintiff.

32.   Placement on the North Carolina sex offender registry significantly

alters Plaintiff’s legal status and rights as described above.

33.   Plaintiff was given no notice or opportunity to be hear prior to the

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determination that he was required to register on the basis of “substantial

similarity.”

34.     Plaintiff was not afforded constitutionally sufficient due process prior

to being placed on the North Carolina sex offender registry by Defendant.

35.     Plaintiff is restrained of his liberty by placement on the North Carolina

sex offender registry.


      WHEREFORE, Plaintiff prays the Court:


1)      For a declaratory judgment that Defendant has violated Plaintiff’s Due

Process Rights under the Fourteenth Amendment of the Constitution of the

United States by placing him on the North Carolina sex offender registry and

thereby subjecting him to a substantial deprivation of liberty without

constitutionally sufficient due process;

2)      For an Order directing Defendant, in his official capacity, to remove the

Plaintiff’s name and other information from the registry maintained by the

Defendant and directing Defendant to forward notice of such removal to the

North Carolina State Bureau of Investigation with instructions that

Plaintiff’s name should be removed from the statewide sex offender registry;

3)      For an injunction barring Defendants, in his official capacity, from

enforcing North Carolina statutes applicable only to registered sex offenders

against the Plaintiff;

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4)    For attorney’s fees and costs pursuant to 42 U.S.C. §1988 and any other

applicable federal or state statute; and

5)    For any such other relief to which Plaintiff may be entitled.




This is the 14th day of April, 2020.




                                           //Paul M. Dubbeling//
                                           Paul M. Dubbeling
                                           P.M. Dubbeling, PLLC
                                           210 North Columbia Street
                                           Chapel Hill, NC 27514
                                           (919) 635-6005 Telephone
                                           (919) 404-7074 Facsimile
                                           paul.dubbeling@pmdubbeling.com
                                           NC Bar # 47014




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